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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


  JITENDRA JAIN,
  MANISH ARORA,
  SCARIYA KUMARAMANGALAM,                           Case No.
  HARSH DATTA,
  BALVANT ARORA,

        Plaintiffs,
  v.

  NEXGEN MEMANTINE INC.,

  SUREN AJJARAPU,
  ANNAPURNA GUNDLAPALLI,
  GAJAN MAHENDIRAN,
  TRXADE, INC., WESTMINSTER
  PHARMACEUTICALS, LLC.

            Defendants.


                                         COMPLAINT

       The Plaintiffs, by and through their undersigned counsel, aver as follows:

                              PARTIES AND JURISDICTION

       1.        Plaintiff Jitendra Jain is a resident of Madison County, Alabama.

       2.       Plaintiff Manish Arora is a resident of Limestone County, Alabama.

       3.        Plaintiff Scariya Kumaramangalam is a resident of Madison County, Alabama.

       4.        Plaintiff Harsh Datta is a resident of Prince William County, Virginia.

       5.        Plaintiff Balvant Arora is a resident of Stafford County, Virginia.
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        6.       Upon information and belief, Defendant Suren Ajjarapu a resident of 19814

 Sea Rider Way Lutz, FL 33559.

        7.       Upon information and belief, Defendant Annapurna Gundlapalli is a resident

 of Hillsborough County, Florida with an unknown address.

        8.       Upon information and belief, Defendant Gajan Mahendiran is a resident of

 4427 Corral Road Warrenton, Virginia 20187.

        9.       Nexgen Memantine is a corporation incorporated in Wyoming with its

 principal place of business in 8913 Regents Park Drive Suite # 550 Tampa, FL 33647.

        10.      Trxade, Inc. is a corporation incorporated in Florida with offices located at

 3840 Land O’ Lakes Blvd, Land O’ Lakes, Florida 34639.

        11.     Westminster Pharmaceuticals, LLC is headquartered in Tennessee.

        12.     This Court has proper jurisdiction under 28 U.S.C. § 1331 as there are civil

 actions arising under the Constitution, laws, or treaties of the United States.

        13.     This District Court is the proper venue under 28 U.S.C. § 1391(b)(2), as a

 substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in

 Hillsborough County, Florida.

                                 GENERAL ALLEGATIONS

                                           Background

        14.     In January of 2016 Nexgen Memantine solicited investments from Jitendra Jain,

 Manish Arora, Scariya Kumaramangalam, Harsh Datta, Balvant Arora (collectively “Plaintiff

 Investors”), through Suren Ajjarapu and Gajan Mahendiran, by the sale of preferred stock to

 all named Plaintiffs.
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        15.     Plaintiff investors signed contracts that are the same or substantially similar

 form to Exhibit H.

        16.      Gajan Mahendiran engaged Plaintiff Investors to invest in Nexgen

 Mementime.

        17.      Plaintiff Investors were forwarded documents entitled “Nexgen Teaser” along

 with a presentation of Trxade which was used as an inducement for investment.

        18.      The primary business of Nexgen Memantine was to secure FDA approval for

 the production of a generic version of Memantine, an FDA approved drug to treat Alzheimer's.

        19.     Gajan Mahendrian is President and Treasurer of Nexgen Memantine.

        20.     Gajan    Mahendrian     is   also   a   managing    member     for   Westminster

 Pharmaceuticals, LLC.

        21.     Westminster Pharmaceuticals is Trxade Inc’s wholly-owned distribution arm.

        22.     Nexgen Memantine partnered with Westminster Pharmaceuticals to distribute

 Nexgen products, and used this as a marketing pitch to solicit investments.

        23.     Nexgen Memantine through its President, Gajan Mahendiran promised

 Westminster Pharmaceuticals’ distribution network would decrease risk in Plaintiff Investors

 securities, by, among other things, stating: “[r]emember I want to point out that the security in

 this molecule for you and your partners investments comes from the fact we already have

 distribution network already built.” See Exhibit A.

        24.     The board of directors of Nexgen Memantine knew at the time they solicited

 investments, that their drug would not be approved by the Food and Drug Administration.
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         25.       Gajan Mahendiran, President and Treasurer of Nexgen Memantine, emptied

 the bank accounts of Nexgen Memantine.

         26.       Annapurna Gundlapalli is an officer of Nexgen Memantine. In that capacity he

 serves as both Vice-President and Secretary.

         27.       Suren Ajjarapu was an apparent agent of Nexgen Memantine by claiming to be

 the Chief Executive Officer of Nexgen Memantine in an email soliciting investments in

 Nexgen Memantine.

         28.       Suren Ajjarapu is the Chief Executive Officer of Trxade, Inc.

                                     Material False Statements

         29.       Suren Ajjarapu, as part of an effort to solicit the sale of securities and secure

 investments for Nexgen Memantine, regularly engaged in e-mail and phone conversations with

 the Plaintiffs.

         30.       Suren Ajjarapu and Gajan Mahendrian through Nexgen Memantine in a false

 and misleading statement to the plaintiffs said: "Based on our wholesale distributors who are

 already buying from us, we have already reached well beyond $ 2 million dollars in goods they

 will be purchasing." Exhibit C.

         31.       Suren Ajjarapu and Gajan Mahendrian through Nexgen Memantine in a false

 and misleading statement to the plaintiffs said: "Currently Nexgen has partnered with

 Westminster to distributor their products thru wholesale partnership that controls 5,000

 independent pharmacies and 27 suppliers utilizing their trading platform, with the number of

 registered users growing on a monthly basis.” Exhibit E.
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        32.        Ajjarapu and Mahendiran also made material misrepresentations about Nexgen

 Memantine and the securities pitched to the Plaintiff Investors, namely that in exchange for

 investing in the company, Plaintiff’s would get 12% interest annually plus shares in the

 company.

         33.       Gajan Mahendrian on behalf of Nexgen Memantine in a false and misleading

  statement to the plaintiffs stated the plaintiff’s investments were to be used for the production

  of medicine, packaging, from India to the United States and distribution of medicine in the

  United States.

       34.         Suren Ajjarapu and Gajan Mahendrian on behalf of Nexgen Memantine offered

 a guarantee on the Plaintiffs’ investment with the intent to mislead the Plaintiff Investors into

 thinking their investment had little to no risk. See Exhibit H.

        35.        Suren Ajjarapu and Gajan Mahendiran materially knew that the generic version

 of the drug Memantine was not or would not be approved by the Food and Drug Administration

 (“FDA”), and omitted this material information while soliciting investors for Nexgen

 Memantine.

                             Plaintiff’s Reliance on False Statements

        36.        Jitendra Jain invested seventy-five thousand dollars ($75,000.00) in Nexgen

 Memantine Inc.

        37.        Manish Arora invested one-hundred thousand dollars ($100,000.00) in Nexgen

 Memantine Inc.

        38.        Scariya   Kumaramangalam       invested    one-hundred      thousand    dollars

 ($100,000.00) in Nexgen Memantine Inc.
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        39.    Harsh Datta invested one-hundred thousand dollars ($100,000.00) in Nexgen

 Memantine Inc.

        40.    Balvnt Arora invested fifty thousand dollars ($50,000.00) in Nexgen

 Memantine Inc.

        41.    The Plaintiffs first came to know of possible fraud in late 2018, when an email

 was sent to all investors calling a special meeting of shareholders of Nexgen Memantine, Inc.

 on November 27, 2018.

        42.     Gajan Mahendiran fraudulently transferred assets, namely money, from

 Nexgen Memantine to himself labeling the transfers “Trxade Invest.” Said money left the

 accounts of Nexgen Memantine with no justification. Said transfers amounting to

 $1,185,000.00 as follows:

        a.      April 1, 2016 $135,000.00

        b.     May 3, 2016 $500,000.00

        c.     June 23, 2016 $250,000.00

        d.     September 28, 2016 $200,000.00

        e.     December 20, 2016 $100,000.00

        43.    Gajan Mahendiran was the principal of a promissory note to Trxade, Inc. in the

 amount of $1,500,000.00.

        44.    The Defendant Gajan Mahendiran has recently informed Plaintiffs’ that Nexgen

 Memantine, Inc. was started by Suren Ajjarapu.
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        45.    Defendant Gajan Mahendiran has recently informed Plaintiffs' that he [Mr.

 Mahendiran] has investments in other companies with Suren Ajjarapu including, but not

 limited to, Nexgen Lifesciences, Trxade, along with some others.

            COUNT I - FRAUD UNDER SECTION 10(b) OF THE EXCHANGE ACT
                         AND RULE 10b-5 THEREUNDER

          (PLAINTIFF INVESTORS AGAINST SUREN AJJARAPU, GAJAN MAHENDRIAN,
        NEXGEN MEMANTINE INC., ANNAPURNA GUNDLAPALLI, WESTMINSTER
                    PHARMACEUTICALS, LLC, AND TRXADE, INC.)

        46.    Plaintiff Investors   reallege and incorporate all allegations and averments

 contained in paragraphs 1 through 43.

        47.    Suren Ajjarapu and Gajan Mahendiran materially knew that the generic version

 of the drug Memantine was not or would not be approved by the Food and Drug Administration

 (“FDA”), and omitted this material information while soliciting investors for Nexgen

 Memantine.

        48.    Ajjarapu and Mahendiran also made material misrepresentations about Nexgen

 Memantine and the securities pitched to the Plaintiff Investors, namely that in exchange for

 investing in the company, Plaintiff’s would get 12% interest annually plus shares in the

 company.

        49.    Suren Ajjarapu and Gajan Mahendrian through Nexgen Memantine in a false

 and misleading statement to the plaintiffs said: "Based on our wholesale distributors who are

 already buying from us, we have already reached well beyond $ 2 million dollars in goods they

 will be purchasing."Exhibit C.

        50.    Suren Ajjarapu and Gajan Mahendrian through Nexgen Memantine in a false

 and misleading statement to the plaintiffs said: "Currently Nexgen has partnered with
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 Westminster to distributor their products thru wholesale partnership that controls 5,000

 independent pharmacies and 27 suppliers utilizing their trading platform, with the number of

 registered users growing on a monthly basis.” Exhibit E.

         51.     Ajjarapu and Mahendiran solicited investments in Nexgen Memantine using the

 above false representations and omissions, with the intention to fraudulently gain Plaintiff

 Investors’ funds.

         52.     Upon information and belief, Annapurna Gundlapalli, as Vice President and

 Director of Nexgen Memantine, was aware of and aided in the fraudulent sale of securities to

 the Plaintiff Investors.

         53.     The FDA’s approval to produce and sell the generic version of Memantine, as

 well as the supposed 12% annual interest on investments, were material aspects of the

 securities sales made by Ajjarapu and Mahendiran, on behalf of Nexgen Memantine.

         54.     Nexgen Memantine and Westminster Pharmaceuticals marketed that the two

 companies had an agreement or partnership to use Westminster Pharmaceuticals’ distribution

 network for the upcoming generic Memantine product. Upon information and belief, this

 partnership’s sole purpose was to ease the concerns of potential investors such as the Plaintiffs,

 and to lend Westminster Pharmaceuticals’ established credibility in the industry to Nexgen

 Memantine, which otherwise lacked such credibility. Exhibit A.

         55.     The Plaintiffs reasonably relied, to their detriment, on the material

 misrepresentations and omissions of Ajjarapu, Mahendiran, Gundlapalli, Nexgen Memantine,

 and Westminster Pharmaceuticals, and ultimately invested a combined total of $425,000 into

 NexGen Memantine.
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        56.     Ajjarapu and Mahendiran’s misrepresentations and omissions, made on behalf

 of Nexgen Memantine, were the cause of Plaintiff Investors’ loss. Without any annual interest

 provided on the securities or possibility of FDA approval for the drug, the securities purchased

 by Plaintiff Investors were worth substantially less than Plaintiff Investors were led to believe

 while being solicited by Ajjarapu and Mahendiran.

        57.     Plaintiff Investors were further damaged when Mahendiran withdrew

 $1,185,000.00 from Nexgen Memantine to his personal bank account over the course of several

 months in 2016.

        WHEREFORE, Plaintiff Investors respectfully request that this Court enter judgment

 against Defendants Suren Ajjarapu, Annapurna Gundlapalli, Gajan Mahediran, and Nexgen

 Memantine for fraud under section 28 U.S.C. § 78j              and 17 C.F.R. § 240.10b-5, for

 compensatory damages for such securities paid for and investments made by Plaintiffs, plus

 the legal rate, together with attorneys’ fees, cost, reasonable expenses, and further relief as this

 Court deems fair and just.

            COUNT II - JOINT AND SEVERAL LIABILITY UNDER 15 U.S.C. CODE § 78t

                           (PLAINTIFF INVESTORS AGAINST TRXADE, INC.)

        58.     Plaintiff Investors    reallege and incorporate all allegations and averments

 contained in paragraphs 1 through 31.

        59.     Westminster Pharmaceuticals is a wholly owned subsidiary of Trxade, Inc., and

 acts as Trxade, Inc.’s primary distributor in North America.
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          60.     Suren Ajjarapu, who solicited Plaintiffs via email regarding the purchase of

   securities and investment in Nexgen Memantine, and who claimed to be the CEO of Nexgen

   Memantine (see Exhibit G), is actually the CEO of Trxade, Inc.

          61.     Upon information and belief, Trxade, Inc. by controlling Westminster

   Pharmaceuticals, its subsidiary, and Surren Ajjarapu, its CEO, furthered the scheme employed

   by Gajan Mahendiran, Annapurna Gundlapalli, and Nexgen Memantine to solicit the

   fraudulent sale of securities in Nexgen Memantine, and is joint and severally liable under 15

   U.S.C.A. § 78t(a).

          62.     In furtherance of this claim, Plaintiff Investors point to Mehandiran’s transfer

   of $1,185,000.00 from Nexgen Memantine, which were labeled as “Trxade Invest”.

          63.     These payments to Trxade show that Trxade benefited from, and likely engaged

   in, unlawful activity indirectly through Mehandiran, Gunlapalli, and Nexgen Memantine

   through the fraudulent sale of securities, and is therefore also joint and severally liable under

   15 U.S.C.A. § 78(b).

          WHEREFORE, Plaintiff Investors respectfully request that this Court enter judgment

   against Defendant Trxade, Inc. for joint and several liability under 15 U.S.C. §§ 78t(a)-(b) for

   compensatory damages for such securities paid for and investments made by Plaintiffs, plus

   the legal rate, together with attorneys’ fees, cost, reasonable expenses, and further relief as

   this Court deems fair and just.

             COUNT III - FRAUDULENT TRANSACTIONS OF SECURITIES
                           §§ 517.301, 517.211, FLA. STAT.

    (PLAINTIFF INVESTORS AGAINST SUREN AJJARAPU, GAJAN MAHENDRIAN,
   NEXGEN MEMANTINE INC., ANNAPURNA GUNDLAPALLI, AND WESTMINSTER
                         PHARMACEUTICALS, LLC)
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           64.     Plaintiffs reallege and incorporate all allegations and averments contained in

   paragraphs 1 through 31.

           65.     The Florida Securities and Investor Protection Act (“FSIPA”) applies because

   there is a territorial nexus to the State of Florida: Nexgen Memantine has its principal place of

   business in Florida. Furthermore, NexGen Memantine solicited investments from residents of

   Florida. Florida has a legitimate interest in eliminating a base of fraudulent operations located

   within its borders.

           66.     Suren Ajjarapu and Gajan Mahendiran knew that the generic version of the drug

   Memantine was not submitted for application to the FDA, would never be approved by the

   Food and Drug Administration (“FDA”) (because it was never filed for approval), and omitted

   this material information while soliciting investors for Nexgen Memantine.

           67.     Ajjarapu and Mahendiran also made material misrepresentations about Nexgen

   Memantine and the securities pitched to the Plaintiff Investors, namely that in exchange for

   investing in the company, Plaintiff’s would get 12% interest annually plus shares in the

   company.

           68.     Upon information and belief, Annapurna Gundlapalli, as Vice President and

   Director of Nexgen Memantine, was aware of and aided in the fraudulent sale of securities to

   the Plaintiff Investors.

           69.     Nexgen Memantine and Westminster Pharmaceuticals marketed that the two

   companies had an agreement or partnership to use Westminster Pharmaceuticals’ distribution

   network for the upcoming generic Memantine product. Upon information and belief, this

   partnership’s sole purpose was to ease the concerns of potential investors such as the Plaintiffs,
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   and to lend Westminster Pharmaceuticals’ established credibility in the industry to Nexgen

   Memantine, which otherwise lacked such credibility. Exhibit A.

          70.     The FDA’s approval to produce and sell the generic version of Memantine, the

   supposed 12% annual interest on investments, and the participation of Westminster

   Pharmaceuticals were all material aspects of the securities sales made on behalf of Nexgen

   Memantine.

          71.     The Plaintiffs reasonably relied, to their detriment, on the material

   misrepresentations and omissions of Ajjarapu, Mahendiran, Gundlapalli, Nexgen Memantine,

   and Westminster Pharmaceuticals, and ultimately invested a combined total of $425,000 into

   NexGen Memantine.

          72.     Ajjarapu and Mahendiran’s misrepresentations and omissions, made on behalf

   of Nexgen Memantine, were the cause of Plaintiff Investors’ loss. With no annual interest

   provided on the securities to date, and with no possibility of FDA approval for the drug, the

   securities purchased by Plaintiff Investors were worth substantially less than Plaintiff Investors

   were led to believe while being solicited.

          73.     Plaintiff Investors were further damaged when Mahendiran withdrew

   $1,185,000.00 from Nexgen Memantine to his personal bank account over the course of several

   months in 2016.

          74.     As a consequence of the violation of Florida’s securities laws, Suren Ajjarapu,

   Annapurna Gundlapalli, Gajan Mahediran, Westminster Pharamceuticals, and Nexgen

   Memantine, are joint and severally liable for compensatory damages for the securities and
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   investments made by Plaintiffs, plus interest thereon at the legal rate, costs, and reasonable

   attorneys’ fees pursuant to Fla. Stat. § 517.211.

          WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

   Defendants Suren Ajjarapu, Annapurna Gundlapalli, Gajan Mahediran, Westminster

   Pharmaceuticals, and Nexgen Memantine for fraudulent sale of securities under Fla. Stat. §§

   517.301 and 517.211, for compensatory damages for such securities paid for and investments

   made by Plaintiffs, plus the legal rate, together with attorneys’ fees, cost, reasonable expenses,

   and further relief as this Court deems fair and just.

     COUNT IV - SALE OF UNREGISTERED SECURITIES, §§ 517.07, 517.211, FLA.

                                                STAT.

    (PLAINTIFF INVESTORS AGAINST SUREN AJJARAPU, GAJAN MAHENDRIAN,
   NEXGEN MEMANTINE INC., ANNAPURNA GUNDLAPALLI, AND WESTMINSTER
                         PHARMACEUTICALS, LLC)

          75.     Plaintiffs reallege and incorporate all allegations and averments contained in

   paragraphs 1 through 31.

          76.     The Florida Securities and Investor Protection Act (“FSIPA”) applies because

   there is a territorial nexus to the State of Florida: Nexgen Memantine has its principal place of

   business in Florida. Furthermore, NexGen Memantine solicited investments from residents of

   Florida. Florida has a legitimate interest in eliminating a base of fraudulent operations located

   within its borders.

          77.     Suren Ajjarapu and Gajan Mahendiran solicited the sale of securities in

   NextGen Memantine that were not registered with the Office of Financial Regulation of the

   Financial Services Commission of the State of Florida, in violation of the requirements
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   provided in Fla. Stat. § 517.07. Furthermore, these securities were not exempt under Fla. Stat.

   § 517.051, were not sold in a transaction exempt under s. 517.601, and are not federally

   covered securities.

           78.     Upon information and belief, Annapurna Gundlapalli, as Vice President and

   Director of Nexgen Memantine, was aware of and aided in the fraudulent sale of securities to

   the Plaintiff Investors.

           79.     Nexgen Memantine and Westminster Pharmaceuticals marketed that the two

   companies had an agreement or partnership to use Westminster Pharmaceuticals’ distribution

   network for the upcoming generic Memantine product. Upon information and belief, this

   partnership’s sole purpose was to ease the concerns of potential investors such as the Plaintiffs,

   and to lend Westminster Pharmaceuticals’ established credibility in the industry to Nexgen

   Memantine, which otherwise lacked such credibility. Exhibit A.

           80.     As a consequence of the violation of Florida’s securities laws, Suren Ajjarapu,

   Annapurna Gundlapalli, Gajan Mahendiran, Nexgen Memantine, and Westminster

   Pharmaceuticals are joint and severally liable for rescissory damages and interest at the legal

   rate, costs, and reasonable attorneys’ fees pursuant to Fla. Stat. § 517.211.

           WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

   Defendants Suren Ajjarapu, Annapurna Gundlapalli, Gajan Mahediran, and Nexgen

   Memantine for sale of unregistered securities under Fla. Stat. §§ 517.07 and 517.211 for

   compensatory damages for such securities paid for and investments made by Plaintiffs, plus

   the legal rate, together with attorneys’ fees, cost, reasonable expenses, and further relief as this

   Court deems fair and just.
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             COUNT V - PLAINTIFFS AGAINST NEXGEN MEMANTINE INC. FOR

                                          CONVERSION

          81.     Plaintiffs reallege and incorporate all allegations and averments contained in

   paragraphs 1 through 31.

          82.     The Plaintiffs invested a combined amount of $425,000 into Nexgen

   Memantine.

          83.     The Plaintiffs are shareholders of Nexgen Memantine.

          84.     Upon information and belief, Gajan Mahendiran, emptied the bank accounts of

   Nexgen Memantine.

          85.     Gajan Mahendiran took the money from Nexgen Memantine for his personal

   use.

          86.     The Plaintiffs requested their money back from Nexgen Memantine and

   Nexgen Memantine refused to give the Plaintiffs their money back.

          WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

   Defendant Nexgen Memantine Inc. for conversion., for compensatory damages for such

   securities paid for and investments made by Plaintiffs, plus the legal rate, together with

   attorneys’ fees, cost, reasonable expenses, and further relief as this Court deems fair and just.

                                  DEMAND FOR JURY TRIAL

          Plaintiffs demand a jury on all issues so triable.
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   Dated: September 25, 2020.

                                                  FOUR RIVERS LAW FIRM

                                                  By: /s/ Joseph F. Southron
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                                   CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the forgoing was filed on

   September 25, 2020 with the Court via CM/ECF system, which will send notification of such

   filing to all parties and counsel of record.

                                                    /s/ Joseph F. Southron
                                                     Joseph F. Southron
                                                     Florida Bar No. 122109
                                                     For the Firm
